 

 

Case 4:18-cV-02447 Document 1 Filed in TXSD on 07/13/18 Page 1 of 29

UN|TED STATES D|STR|CT COURT FOR SOUTHERN D|STR|CT OF TEXAS
P|aintiff,
A|per Karaali

v. NO.

 

Defendant,
Matthew Hoffman and

lames C. Lee

 

lNTRODUCTlON

Alper Karaali hired bankruptcy attorneys Matthew Hoffman and James
Lee for chapter 11 bankruptcy filing for P|aintiff’s company Tien Shan inc.
on 08/31/2011. A|per Karaa|i’s litigation attorney James Muss|ewhite was
present during the meeting for hiring process. Attorney Matthey Hoffman
presented himself as 40 years experienced attorney in bankruptcy cases.
A|per Karaa|i had a dispute for the remaining balance of his property's
mortgage with the oil company Petroleum Wholesale and needed
bankruptcy protection and interference to stop foreclosure of this property.

PART|ES

P|aintiff, A|per Karaa|i, Pro Se, was the owner of Tien Shan inc. and
was client of attorneys Matthew Hoffman and James Lee.

538 |vy Cross lane Sugar Land , Texas 77479
ph. 281-704-0052 atkaraali@aol.com

1

Case 4:18-cV-O2447 Document 1 Filed in TXSD on 07/13/18 Page 2 of 29

Defendants, Matthew Hoffman and James Lee law firm.
Matthew Hoffman

2777 Allen Parkway, suite 1000 Houston, Texas 77019
ph. 713-654-9990 mhof1100@aol.com

lames C. Lee

CJH & ASSOClATES, P.C. 1440 Broadway, suite 1000, Oakland, CA
94612

ph. 510-817-0808

JUR|SD|CTION

The Court has jurisdiction over this lawsuit because the amount in
controversy exceeds this Court's minimum jurisdictional requirements

CLAlM

Plaintiff seeks total damages within the jurisdictional limits of this
Court but not to exceed $10,000,000.00.

FACTUAL BACKGROUND

Law firm of Matthew Hoffman and James Lee filed Chapter 11
bankruptcy for A|per Karaali's company, Tien Shan inc. on Sep 2, 2011. Oil
company wasn’t delivering gas to P|aintiff's station and not allowing him to
buy gas from somewhere else either, saying that Plaintiff has contract with
them. Plaintiff couldn’t pay mortgage and became bankrupt. Attorneys

2

Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 3 of 29

Matthew Hoffman and James Lee supposed to ask the ludge to reject to
contract and allow P|aintiff to buy gas from somewhere else, make the
money, pay the mortgage, everybody happy. Attorneys asked the Judge to
reject the contract but forgot to notify oil company electronically and the
Judge denied.

Attorneys made agreement with oil company to deliver gas to P|aintiff
but when they cheated, refused to let Judge know. Oil co. again stopped
delivering gas inside the bankruptcy but attorneys refused to inform the
ludge.

Attorneys engaged negotiations with oil co. without P|aintiff's
knowledge, despite P|aintiff's objection, offered to pay oil co. more money
than owed, ask to borrow money from different oil co. on behalf of
P|aintiff without his knowledge. P|aintiff caught attorneys making deal with
oil co., just before the hearing, not to tell the Judge they stop delivering
gas, in spite they agreed before the ludge.

Attorneys refused to file documents with the Court to show that oil
company ask five times more than original upgrade cost.

Attorneys refused to ask to Judge’s consent to use P|aintiff's rental
income to pay utilities, refuses to request documents for discovery from oil
co.

As P|aintiff finds out that oil co. is not the Debtor in this case and
whole thing was a scam, warns the attorneys to request discovery.

Attorneys requested documents from tittle company and find out this
was a fact but attorneys refused to inform the Judge. ln spite, they inform
the oil co. what they find out, resulted oil co. bring a different co. as a
debtor to the case. Attorneys accepted both companies as co-debtor,
disregarded P|aintiff's objections. Attorney’s response was ”they are not a
kind of attorney that listen to their client”.

3

Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 4 of 29

As the oil co. stop sending gas inside the bankruptcy, P|aintiff asked
the attorneys to request permission from Judge to buy gas from different
place and ask to reject the contract. lnstead, attorneys stipulated that they
will not seek to reject contract, without informing and explaining to the
Plaintiff.

Attorneys made major mistake and filed re-organization plan in 90 days
of bankruptcy filing instead of 180 days. Plan rejected because of not giving
enough time to give 30 days notice to the creditors. Attorneys refuses to
correct their mistakes and re-file the plan.

As part of re-organization plan, P|aintiff applies to a bank for
refinancing to pay off the debt. Bank approves the loan and appraises the
property. Attorneys refuses to inform the ludge that refinancing ready and
bank's appraisal was much higher than the securing the debt. instead they
inform the oil co. from bank's appraisal and of course oil co. hires
appraiser that shows value of the property $1 million and files with the
Court. Bank's appraisal was $2.1 million without the business value, in
reality value was $3 million. Attorneys put no effort hiring another appraiser
to support bank's appraisal.

Attorneys learned that bank condition to refinance if existing contract
cancelled, otherwise since the oil co. not sending gas ,there was no way
P|aintiff to sell gas and make money to pay the bank. Attorneys refuses to
withdraw their stipulation to not to reject contract but instead continue
offering more money to the oil co. to pay off the debt without P|aintiff's
knowledge. Even Attorneys know how much bank is willing to lend, still
offering oil co. more money, sabotaging refinancing and bankruptcy
themselves

ln spite of oil co.'s claim was $1.3 million at the beginning of
bankruptcy for remaining $950,000 debt, suddenly on Nov 23, 2011 oil co.
increases the claim to $1.4 million and P|aintiff's attorneys agreed without

4

Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 5 of 29

any objection and of course without P|aintiff's approval. Matter of fact
P|aintiff's attorneys suggested to the oil co. that debt is $1.4 million ,not
$1.3.

Attorneys cuts deal with oil co. for $1.35 million debt and ask to bank
lend more money, all without informing Plaintiff and his approval.

Plaintiff found out that Exxon's brand agreement would no longer be
exist, cancelled by Exxon, so stipulating not to seek rejection of contract
would be meaningless and Plaintiff asks the attorneys to withdraw
stipulation and inform the Court. First, attorneys seems agreed but asking
Plaintiff to get documents from Exxon to prove it to bankruptcy Judge.
When Plaintiff supplies the documents from Exxon to prove it, attorneys
changed their mind and refused to inform the Court and refused to
withdraw their stipulation. instead they made one more stipulation that oil
co. never failed to sent gas, make sure that oil co. well protected.

As the attorneys refuses to withdraw stipulations, P|aintiff try to
dismiss the case to avoid stipulations. Bankruptcy Judge says ’DlSCLOSURE
STATEMENT” was wrong, upon P|aintiff's request, attorneys refuses to
correct the mistakes and file new one.

Attorneys not only put all the effort against to Plaintiff they represent
but also did everything possible to cover oil co.'s mistakes like putting
property foreclosure before legal date or hiding the appeal date from
P|aintiff,

PLAlNT|FF SUES FOR BREACH OF FUDlClARY DUTY

Attorney Matthew Hoffman and James Lee, in spite of was hired and
representing the P|aintiff, worked against to P|aintiff, made mistakes and
refused to correct them, and helped to oil co. to foreclose P|aintiff's
property, refused to take action to protect their client and do their job.

5

Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 6 of 29

JURY DEMAND

P|aintiff, Alper Karaa|i respectfully request a jury trial.

PRAYER

Plaintiff respectfully request that The Court enter judgment against to
Defendant for the fallowing.

Actual damages,

b Exemplary damages,

c Pre-judgment and post-judgment interest,

d- Future loss of income,

e Future loss of credibility,

f Mental and emotional pain, suffering and anguish,
g injury to P|aintiff's reputation.

h Revoke the attorneys’ licenses to practice iaw.

a

Dated December 10, 2015

Respectfully submitted

A|per Karaa|i, Plaintiff
538 ivy cross lane
Sugar Land, TX 77479
ph. 281-704-0052

e-mail. atkaraaii@aol.com

 

 

RE: Tien Shan, lnc. rage 2 or 5
' Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 7 of 29

this comimmication is strictly prohibited lf you have received this communication in error, please erase all
copies of the message and its attachments and notz`yj) us immediately Thank yoz.'.

From: Madden, Eric [ j
Sent: Thursday, September 22, 2011 1:30 PM

"§"nr

Cc: Lee, Kyung S.; Schoil, Jeanerte

Sub_ject: Tien Shan, Inc.

Man

You indicated that the Debtor would agree to a Short continuance of tomorrow morning’s hearing, but only if PWI agrees
to provide some fuel to the Debtor’s store. PWI will provide unbranded fuel now that the store is debranded and will
require payment upon delivery, in exchange for a 7-10 day extension of the hearing Are these terms acceptable to your
client? if so, we can present the terms for court approval in an agreed continuance motion/order

Best regards

Eric

http://mail.aoi.corn/B 7614-1 1 1/a01-6/en-us/mail/PrintMessage.apr 4/ 1 8/2013

t’age 1 or 1
‘ - Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 8 of 29

 

Frem: atl<araaii <atl<araaii@aol.com>
Te: mhoii 100 <mhoti t 00@aoi.com>
Date: Sal, Sep 2£:, 2011 1:06 arn

f-\s t tought they delivered gas 8:45 pm, no price info.Driver called theis office but nobody knows our price, they
didn't sent me. i\low l see they sent it to you .My mistake ,i should warn you ask written today Price supposed
to to today‘s rack price, that was the agreement .They sent you lest Week's prices so cost 33.1850 but price
today $2.9292 means $25 higher.`i`hey got me again, i sent you today's price as a separate mail so we can use
next week.Also gas they dropped less than what the papers says i'll tax you the documents tomorrow.l didn‘t
turn the pumps on, best thing Wiil be don't touch their gas and not try to sell ,Wait for the next Weei-<, maybe We
can show the judge they didn't kept the agreement

it‘tp://mail.aol.conu'$?é1¢§»~1 1 1/ael-§/en-us/rnaii/Pt'intiy§essage.asp:; 15./1$5/2()§ 3

 

 

RE: gas outage rage 1 or 1
Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 9 of 29

From: Matthew Hoffman <mhof1100@aoi.com>
To: atkaraaii <atkaraaii@aoi.com>
Subject: RE: gas outage
Date: Thu, Sep 29, 2011 9;11 am

Dear Alper,

Fuel is on its way. Should be there between noon and 6:00 p.m. today

Regards,

Matthew Hoffman*

Law Off`xc.es of Matthew Hot`t`man, p.c.
Riviana Building

2777 Allen Parkway, Suite 1000
Houston, TX 770l 9

713~654-9990 (Telephone)
713-654-0038 (Telecopier)

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this communication is strictly prohibited Ifyozi have received this conmn./nication in error, please erase all
copies of the message and its attaclnnents and notify us immediately Thanlcyon.

From: [ j
Sent: "l“hursday, September 29, 2011 8:32 AM
Tn~

Subject: gas outage

station run out of regular gas as of09/28/201 1 8 pm

http://mail.aoi.com/37614-1 1 1/aol-6/en~us/mail/Printiviessage.aspx 4/18/2013

Re: stage 2 test rage 2 iii z
Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 10 of 29

 

From: [ l
Sent: Thursday, October 13, 2011 9:06 AM
To:

Subject: stage 2 test

We have scheculed STAGE 2 test Monday Oct 17 as of State requirement.lt must have certain level of gas in the both
tanks to able to perform pressure test.Without this test we can not continue sell gas,State does not allow.What is PW’s
response for FMLA conditions, if they OK. they have 4 days to send gas, if not, are they cancelling FMLA?

 

http://mail.aol.com/37688~l l 1/aol-6/en-us/mail/Printl\/Iessage.aspx 5/2/2013

 

 

 

RE: rage 1 01 1
Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 11 of 29

From: Matthew Hoffman <mhof‘l 100@aol.com>

To: ati<araali <atkaraali@aoi.corn>
Subject: RE:
Date: 'i`hu, Oct 13, 2011 11:16 am

Dear Alper,

You are not authorized to use the rental income without consent of Petroleum Wholesale. it is
Petroleum Wholesale’s cash collateral and must be used to pay on the Note owing to Petroleum Wholesale, or
not at all.

Regards.

Matthew Hoffman* ~

Law Offices of Matthew Hoffman, p.c.
Riviana Building

2777 Allen Parkway, Suite 1000
Houston, TX 77019

713-654-9990 (Telephone)
713-654-0038 (Telecopier)

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message and its attachments and notify us immediately Thank you.

From: j j
Sent: Thursday, October 13, 201 l 9:18 Aivl

'l'n:

Subject:

Mr. Hof`t`man.

Tien Shan's current business level will not allow operate without use of $4,000 monthly rent to pat the utility bills and
employee, especially coming months for the licence and permits and insurances due.Plus lwon't be able to repair
remaining 3 pumps as 1 planned.Do we have to accept to pay them that rent or judge will decide that.

SECONDLY, ‘SALE AND PURCHASE AGREEMENT"with Craig Stavinoha says that l have to accept any contract

between Craig and PW.Does not says "deed of trust security agreement "between Tien Shan and Craig transferable or 1
authorized such a transfer .1 don't recall signing such a document

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Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 12 of 29

From: atkaraali <atkaraali@aol.com>

To: mhot1100 <mhof1100@aol.com>
Sub_iect: Re: stage 2 test
Date: Thu, Oct 13, 2011 9:16 pm

Mr. Hoffman, are you still my attorney or just carrying the communications between PW and l.lf they are not
canceling Fl\/lLA, when we are starting FlVlLA conditions so We can go back in business .l talked with
environmental co., They will skip pressure test for the future if we don’t have 1,500 gallon gas in each tank but
you don't tell that to PVV, MAIN lDEA TO GO BACK BUS|NESS..Still they need some gas in each tank to test
to nozzles.lt is cost $600-700, if we are not going to sell gas no need to spend money.

Do we just return that into they requested, or wait for theirs or challenge it,

Aren't we gonna challenge for the rent money'./

During STAGE 2 test they will pump a lot of gas that will be added back to ianl<, how they will credit us, they
didn't do first one yet

l didn't get invoice for the last payment

Stuart Laap’s mail said you agree on monetary damages for FlVlLA ,please don't be agree on anything without
telling me FlVlLA doesn’t have any value at the moment they de branded the station.

We are right, we are honest, we don't have anything to hide, either they do FlVlLA business honestly, we go

back to life in 3 months or they refuse

to do business FMLA, WE GO WlTi-l SOMEBODY ELSE

Please get some time for me, Fri l order appraisal, Start collecting written offers from other companies will be
document on your hand PW canceled FlVlLA with no charge on other station, also you have their mail to me
offering FlVlLA cancellation without charge

l will prepare all the documents as package for you, make it easier, since they don't wanna negotiate don't
worry, we give best shot, but please give the BEST SHOT.

DON`T FORGET, they were cheating all Houston on my station, got caught, State punished them ,helped me.
Next week l'm taking the 3rd. station to Jeff Muss|ewhite, l'm not the only one ,they are cheating everybody
Asl< them othcially if they Will perform the FlVlLA or not

-»-Original Message_-

From: Matthew Hoffman < >

To: atkaraali < >

Sent Thu, Oct13, 201 'l 1:15 pm

Subject: RE: stage 2 test

Uear Alper,
PW is not canceling FMLA. l will tell PW about the State 2 test on Monday, Octoher l7, 201l, and
the need to have certain level ofgas in both tanks (what is that level?) to perform pressure test.

Kegards,

Matthew Hoffman*

Law Oft`ices of Matthew Hoffman, p.c.
Riviana Building

2777 Allen Parkway, Suite 1000
Houston, TX 77019

7 l 3-654-9990 (Telephone)
713-654-0038 (Telecopier)

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Fwd: single asset real estate yage 1 or 1
Case 4:18-cv-02447 Document 1 Filed in TXSD on 07/13/18 Page 13 of 29

From: atl<araali <atkaraali@aol.com>
To: jeff <jeff@naool~law.com>
Subject: Fwd: single asset real estate
Date: Sun, Oct 16, 2011 8;43 pm

you’ll see he will find excuses to not to do anything

»»-Original l\/lessage-~

From: atkaraali < >
To: mhof1 100 < >
Sent: Sun, Oct 16, 2011 8:42 pm
Subject: single asset real estate

first handicap PW has convinced the judge this is single asset real estate chapter 11.ln my case there is real
estate bringing $5,200 rental income but also there is tien shan's business have income and operation, so it is
not single asset

secondly if the judge doesn't Wait for the reorganization plan, debtor still have 90 days from filing (in our case
Dec 2) to start making interest payments to stop chapter 7 conversion

Now we already used half of this 90 days and it is obvious PW WlLL DO EVERYTH|NG TO NOT TO SEND
GAS OR SEND VERY EXPENS|VE OR SEND NOT ENOUGH etc.l\low since it is early to ask for cancellation
of FMLA at least we can ask the judge to allow temporarily get the gas from somewhere else until we submit
the plan, so l can start payments next 45 days, we have enough evidence now show the judge they are
showing excuses to not to send gas.( l told you l'm one of the best in the world)

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Re: Tien Shan, Inc. -- Rule 2004 rage 1 01 14
Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 14 of 29

From: atkaraali <atkaraali@aol.com>
To: mh0f1100 <mhof1100@aol.com>
Subject: Re: Tien Shan, lnc. - Rule 2004
Date: Mon. Nov 7, 2011 7:26 am

Again l feel we are loosing control
FACTS:
1-WE DO NOT ACCEPT Sun Development as a creditor or a party on this chapter 11.Sun dev. has no
business relation with debtor _VVe are objecting SUN being brought in the case and asking dismissal of both
motion by PW WlTH THAT REASON.
2~did we get anything from real estate attorney or Stewart Tittle regarding NO FURTHER paper you were
talking about, because sometimes this month we will ask the judge throw PW as a secured creditor ,at least we
will t
3- Ar?d please don’t forget we don't have another source more than bank's $1.05 million at this moment, unless
conditions changes with P_VV like

»judge accept to re~adjust remaining of the . eventually we will ask the judge

-they re brand the station, eventually we will ask the judge

-or suddenly they cancel the oil agreement like they did to other stations

PLEASE don‘t recognize Sun DEV. as a creditorl they are not at the moment, neither PW according to their
exhibits

---Original Nlessage--

From: Matthew Hoffman < >
To: Ei\/ladden < >
Cc: slapp < >; amuer < >

Sent: Fri, Nov 4, 2011 3:44 pm
Subject: FVV: Tien Shan, lnc. - Ruie 2004

Dear Eric_,

This will our telephone discussion earlier this attemoon, as follows:
You asked how much time Tien Shan would need relative to a “drop dead” date for funding the Note
held by Sun Development/Petroleum Wholesale;

o l told you that Tien Shan’s intention is to get its Plan ofReorganization on tile by the end of
November, 201 l, provided it can get a tirm, written “take out” loan commitment for
$l,050,000 (also allowing the Debtor to affirm the FMLA with Petroleum Wholesale) from
American by that date;

o Since Tien Shan"s Chapter l l case is a Small Business Case, the statute allows (up to) lSO days
for the Debtor to file a Plan of Reorganization. Nevertheless, Tien Shan intends to proceed
with its joint Disclosure Statement and Cont`trmation Hearing, by the end of December, 20l l,
provided the Court’s docket permits lf`so, the Plan’s Effective Date can be (as early as) 14
days after the signs (and enters) the Contirmation Order (i.e., by mid`
.lanuary, 2012);

o Accordingly, the “best case” deadline by Which Tien Shan could be allowed to pay its creditors
(including Sun Development/Petroleum Wholesale) pursuant to the terms of its continued Plan
of Reorganization would be January 15, 2012. Accordingly, we think that a date in early_,
middle or late February, 20 l 2 would be an appropriate “drop dead” date for payoff of the
allowed Note amount;

You also inquired as to the possibility ot` an earlier, “interim” deadline for commitments from the
Bank (for the $1.05 million loan) and whatever other revenue source Would be needed to bind the
balance of the Plan obligations

http://mail.aol.com/37709-i l l/aol-6/en-us/mail/PrintMessage.aspx 5/8/2013

 

Re: Tien Shan, Inc. -~ Rule 2004 fag€ 2. tit i-?
Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 15 of 29

o l commented that there should be no need for an “interim” deadline, because the bankruptcy
confirmation process, as expedited (i. e ,90 day Plan_ filing, instead of 180 days) above_. is
already on a “t`ast track,” and is (basically) self- -executing, as follows

Tien Shan’ s filing of rts Plan by the end ofNovember, 201 1 and having its Plan
Confirmed by the end ofDecember, 201 l (assuming the Court’s docket permits);

The written loan commitment from the Bank will (obviously) need to be received by
the end ofNovember, 2011 and commitment(s) as to the other amounts needed to fund
the Plan would need to be received by the end of December, 201 1:

With respect to continuing the November 8, 2011 hearing on the Motion to Convert to Chapter 7, l
had suggested 30 days, but you indicated that your client may want to shorten the continuance only to,
Say, 20 days. Subject to the Court’s schedule, why don’t we try to re-schedule for December l or
December 2. 201 1?

Thank you for checking with your client representative regarding the foregoing and getting back to us,
shortly

Cordially.

Matthew Hoffman*

Law Offices of Matthew Hoffman, p.c.
Riviana Building

2777 Allen Parkway, Suite 1000
Houston, TX 77019

713-654-9990 (Telephone)

713-654-003 8 ("l`elecopier)

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From: Matthew Hoffman [ j
Sent: Friday, November 04, 201 1 12:28 Pl\/l

To: 'Madden. Eric`

Cc: ' '; ‘

Subject: FW: Tien Shan, lnc. ~- Rule 2004

Dear Eric,
Further in line with my (below) email of Wednesday ( 1 1/2/11) and my voicemail of a few minutes
ago, please see attached the Baranski Valuation Group’s Selt` Contained Appraisal Report, as of October 26,

201 1, reflecting fair market value in the amount of $2.1 million.

Please also let me hear back from you regarding my email of yesterday regarding how we proceed as
to next week’s two hearings

Cordially,

http://mail.aol.com/S 7709-1 1 1/a01-6/en-us/mail/PrintMessage.aspx 5/8/2013

 

Re: Rule 408 - Settlement Negotiations / inadmissible in bvioence - i ien bnan, inc. / riau... rage 1 01 -r
' Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 16 of 29

From: atkaraali <atkaraali@aol.com>
To: mhof1100 <mhof1100@ao|.com>
Subiect: Re: Rule 408 - Settlement Negotiations / inadmissible in Evidence - `Hen Shan, |nc. / Plan of Reorganization
Date: Thu, Nov 17, 2011 7:47 am

Mr. Hoffman, ifl understand correctly you are still offering PW money for canceling the FMLA (now it increased

from 200,000to 250,000-300,000) .|s that correct?total money we will be offering 1.3 M for everything ,not a
penny more,please change the language.

--Original |Viessage--

From: Matthew Hoffman < >
To: slapp < >
Cc; dmi|ler < >; EMadden < >

Sent Thul Nov 17, 2011 6_:24 am
Subiect: Rule 408 - Settlement Negotiations / inadmissible in Evidence - Tien Shan, lnc_ / P|an of
Reorganization

Dear Stuart, Dan and Eric,

The purpose of this emai| is to discuss how we propose to work together for our respective clients’
mutual best interest in accomplishing Tien Shan, lnc.’s reorganization by the end of this year. Based on Mr.
Baranski's recent appraisa|, Tien Shan has significant (as much as $700,000+) equity in the Noteholder’$
collateral which l think adequately protects the Noteholder's interest in the collatera|, as follows:

0 $1.3 million, inclusive of:
0 $39,000 - ad valorem tax payment reimbursement;
0 $1,258,227.96 - Petroleum Wholesale, L.P. is the (purported) holder of the Real Estate Lien
Note, dated November 22, 2002, signed by Tien Shan, lnc. as Maker, and that the balance Of
the Note as of December 6, 2010 was $1,258,227.96, and the current monthly payment of the
Note as ofDecember 6, 2010 was $1 1,350.47;
o $42,550.00 _ attomeys’ fees awarded, including costs, mediation fee of $650.00 and arbitration
fee of $4.250.00;
o Post-judgment interest on the entire amount from the date of this judgment - records reflect post
judgment interest rate for March, 201 1 to be 5 %;
0 vs. $2 million+ scheduled (9/2/11)Fair Market Value;
0 vs. $2.1 million (10/28/1 1) Appraised Value;
o 201 l - $2.1 million - The Baranski Valuation Group’s appraisal;
0 2007 - $1.7 million - The Baranski Valuation Group’s appraisal

Tien Shan's Plan of Reorganization. Tien Shan's proposed P|an of Reorganization is fairly simple and, l
think, feasib|e, as follows:

~ Affirm Fuel Marketing Location Agreement, unless the parties agree to terminate the FMLA
(Debtor has already stipulated not to seek termination, but we learned the day before yesterday from
American First National Bank (the “Bank”) that the Bank really wants the FMLA to be terminated,
as a condition of making a loan or loans in any amount(s) to the Debtor). Previously, 1 had
thought that Mr. Karaali was the only person who had wanted the FMLA to be terminated, so the
Bank’s position was surprising to me;

ii AS l appreciateit, thel\loteholder is willing to accept $1.3 million to pay off the Note (inclusive of ad
valorem tax payment reimbursement, etc.). Despite Tien Shan’s (previous) view that $1.05 million
should have been sufficient to purchase the Note, we recognize that the Arbitration Award has already

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Re: Rule 408 - Settlcment Negotiations / Inadmissible in Evidcnce - ‘l`ien Shan, lnc. / rlan... rage ./. oi 4
' Case 4:18-cv-O2447 Document 1 Filed in TXSD on 07/13/18 Page 17 of 29

been formalized into a State Court Final Judgment - notwithstanding the fact that the Final Judgment

was appealed by Tien Shan’s Attorney Robert Kouts;

o Stuart, you have made it abundantly clear to us (on more than one occasion) that $1.3 million is
the (minimum) amount that the Noteholder(whether Sun Development or Petroleum
Wholesale) will accept to assign the Note and first lien position (to Ameri`can First National
Bank, or to anyone else);

v Pay Secured Creditor/Noteholder ~ Sun Development or its assignee (up to) $1.3 million from:

o $1.05 million takeout loan from American First National Bank, payable on the Effective Date;
pl_u_s (two options for Sun Development/Petroleum Wholesale to choose from):

”- 3250,000 to $300,000 - additional loan from the Bank, payable on the Effective Date,
to compensate Petroleum Wholesale for agreeing to terminate the FMLA, secured by a
junior (second) lien on the Property behind the Bank’s (expected) first lien on the
Froperty; or

e~ $250,000 to 3300,000 - by supplemental investment (i.e., possibly an alternate fuel
supplier/oil company) on the Effective Date. (This option would only work if your
client(s) wanted to terminate the FMLA);

o Altei'natively, the entire $1.3 million could be paid by Tien Slian, Inc. to Secured
Creditor/Noteholder over a 20 year time period (vs. l 1 years that were remaining on
Promissoiy Note prior to its recent acceleration), with all parties continuing to be bound by the
terms of the FMLA;

The Debtor has agreed to pay the $3,200 net rental proceeds cash collateral over to Sun Development

(or Petroleum \lllholesale)7 the holder of the Note;

9 Debtor intends to order, obtain and sell sufficient fuel (at rack prices) to operate on at least a
breakeven ( inclusive of Note payments) or profitable basis. l believe that the Disclosure Statement
projections will reflect a positive cash flow within no more than 3 months from now;

o Debtor also requests Petroleum Wholesale to re-brand the Station (including making at least some of
the needed repairs - ideally, with financial assistance from the oil company which Petroleum
Wholesale utilizes), as part ofa long-term commitment to Tien Shan’s ongoing operation;

a We will be filing Debtor’s Plan of Reorganization on or before November 30, 201 l (as soon as we
have the Bank’s written commitment for the $1.05 million payment on the Effective Date, and
(possibly) also the additional $.25 million to $.3 million payment on the Effective Date, depending on
which of the (above~listed) 3 payment options your client(s) selects);

o We will also seek confirmation ofDebtor’s Plan of Reorganization on or before December 31, 2011;

9 We hope (subject to the Court’s docket convenience) to achieve an Effective Date of as early as
January 15, 2012.

0

in our pleadings to the Banl<ruptcy Court, we have asserted that Tien Shan’s (improved) real estate not only
has significant equity, but is also necessary for an effective reorganization of the Debtor’s business
operations, as its only source of revenue. As you know, Tien Shan’s revenue is derived from the following
three sources:
0 Sale of fuel;
c Sale of store goods/merchandise; and
0 Rental income trom:
o $4,000 per month - TS Imports, lnc.; and
o $1,200 per month - C & J Columbian Restaurant;
o Again, the Debtor has agreed to pay the $3,200 net rental proceeds cash collateral over to Sun
Development (0r Petroleum Wholesale), the holder of the Note.

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Case 4:18-cv-02447 Document 1 Filed in TXSD on 07/13/18 Page 18 of 29

ln order to get the Debtoi’s Plan of Reorganization on tile by the end of November, 2011, our client
representative is now in the process of obtaining a firm, written ”tal<e out” loan commitment for the
$1,050,000 (which commitment would either allow the Debtor to affirm its FlVlLA with Petroleum Wholesale,
or the Bank would loan an additional 5.25 million to $.3 million, also payable on the Effective Date, to
compensate Petroleum Wholesale for agreeing to terminate the FMLA, with the additional $.25 million to $.3
million being secured by a junior (second) lien on the Property behind the Bank's (expected) first lien on the
Property) by no later than November 22, 2011. ln this connection, my Associate, lames C. Lee, met with l\/ir.
Sin (at the Banl<) the day before yesterday.

We are also working With Mr. Karaali to put together solid Plan projections showing positive cash flow
from operations from which additional funds (e.g., 5250,000, or more - to cover closing costs with the Bank
and costs of administration to complete this Chapter 11 case) can be generated within no more than 60
months (at least as to the secured indebtedness owing to your client(s)). Mr. Karaali testified on Thursday
(11/3/11) regarding certain re~branding costs (which he believes that the oil company which Petroleum
Wholesale elects to use should (hopetully will) agree to fund, but which Tien Shan may~ at least iri part -
have to pay). We certainly recognize that ( unless the parties agree otherwise) Tien Shan will have to raise at
least the 51.05 million, plus at least $250,000 in additional funds, in order to demonstrate to the Court that
its Plan is feasible and, therefore cont”irmab|e.

l\/ly client representative and my firm are willing to cooperate fully with your client(s) by:

Caret`ully, diligently, effectively and immediately ordering fuel in sufficient amounts to sustain a
profitable (i.e., by November or December, 201 1) operation, which will support needed (positive) cash
flow projections to generate (within a reasonable period oftime) the additional 3250,000+ necessaiy to
confirm Tien Shan’s Plan and emerge from bankruptcy by January, 20 lZ;

0 Complete negotiations and to obtain written loan commitment by no later than November 22, 201 l,
for at least $1,05 million, or up to as much as $1.3 million - to be available on or before the
Cont`irmation Hearing date (e.g., December 31, 201 1) and to be payable (to your client(s)) by no later
than the Etfective Date;

@ Pursue (immediately and eiiectively) and secure a re-branding commitment from Petroleum
Wholesale and its participating oil company;

s Reacliing agreement with Sun Development or Petroleum Wholesale to assign its Note and security
interest to American First National Bank for (no more than) $1.3 million (inclusive ot` Arbitration
Award, advanced ad valorem tax payments, etc.);

o We would certainly expect that in order to obtain Sun Development/Petroleum Wholesale"s
cooperation and possible joinder in Tien Shan’s (consensual) Plan ot`Reorganization, Sun
Development/Petroleum Wholesale would require the Debtor to achieve certain milestones by
early dates certain, e.g.:

=- File Plan by end ofNovember, 201 1;
='~ Obtain Ameri`ean First National Bank’s written loan commitment(s) before end of
November, 2011;
=~ Fund “takeout” loan by sometime in lanuary, 2012. ln other words, the Plan would
have to be confirmed by the end of December, 2011 with a mid~January, 2012
Et`fective Date;
0 Discontinuing all (bankruptcy) litigation efforts with Petroleum Wholesale/Sun Development

0

Please let me know whether you and your client(s) are willing to favorably consider the foregoing
plan of action. Thanking you, in advance, we remain

Yours truly,

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Case 4:18-cV-02447 Document 1 Filed in TXSD on 07/13/18 Page 19 of 29

AMERICAN FIRST
NATIONAL BA NK

 

August 11, 2011

Tien Shan, Inc.
3151 S. Dair_v Ashi`ord
Houston. TX. .7.7082

Re: Proposed to refinance the Real Propert_\_': Gas SlatioiL-'C-Store located al 3151 S.
Dairy Ashford, Houston, TX. 77082

Dear Mr. Alper 'l`. Karaaii

Arnerica.n First l‘\'ational Bank (“Lender”_) is interested in pursuing the following loan
subject to the terms and conditions as below;

Bon'ower: 'l`ieri Shan, lnc.

Amouni: $1,258,000.00 (One Million 'l`wo Hun:lx'ed & Fii"t_\! Eiglztj
Thousand E‘v'en`).

l"urpose: To refinance the Rezil Properly: G'ds Station/C-Store located at
315`1 S. Dairy Ashford. Hous‘ion_ TX. 77082

lnteiest R:;.e; WS] Prime + 0.75% floating with
Floor Ratc at 6.5 O% and Ceili_ng Rale at 9.0%

'l`erm: 5-:\"1::111“$ balloon with 20-_\'€&1~.< amortization

l.oan Fees: Bouo\\ er shall pa‘,-' O. 500/o oi ciedit amount loan oiig.inat; or-. lee o
Lendez at thez ime when the commitment lercez is executed

Cou~:iitions: al Requirement Pliase l & ll En\ 1101 mental Repe»r

b_`) Requirement, New/Updated A 1,1p1‘ais¢1l Repoii
c`) Termination of Fuel Agreement with Petroleum Wholesale, LP

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RE: rage 1 or 1
Case 4:18-cV-02447 Document 1 Filed in TXSD on 07/13/18 Page 20 of 29

From: Matthew Hoffman <mhof1100@aol.com>
To: atkaraa|i <atkaraali@aol.com>
Subject: RE:
Date: Wed, Nov 23, 2011 5:50 pm

Dear Alner,

P|ease see my responses to your email below, in red and bold.

Regards,
Matthew Hoffman

From: [ j
Sent: 'l`uesday, November 22, 2011 10:08 PM

To:

Subject:

l read it more, just aher your stipulation we do require re brand and repairs.what does stipulate means here legaly by the
way. (Stipulating basically means declaring or making an agreement.) What if they stop sending gas again, because
soon or late gas prices start increasing again and they will loose $30,000 /month or stop sending gas. (lf Petroleum
Wholesale stops sending gas, by absolutely no fault on your part or Tien Shan’s, then we “might” have a basis to
bring that issue to the Bankruptcy Court. Thus far, however, Petroleum Wholesale sends gas to you and you pay
Petroleum Wholesale for the gas.)

Another thing comes to my mind, since PW wasn‘t note holder, whole law suit and arbitration award should be

declared ...... what? Mistrail? Dismissed? Non-suit? (Let me make this clear, Alper, there is a Final Judgment which
Was appealed (but is now abated), and Attorney Kouts is not willing to prosecute the appeal, nor is my flrm. The
§i_n_al.ludgment states in pertinent part, that “Petroleum Wholesale, L.P. is the holder of the Real Estate Lien Note
dated November 22, 2002.” Accordingly, until, and unless, you were to appeal, successfully, the _Fixi_al Judgment,
the Bankruptcy Court is not able to grant a “mistrial,” “dismissal,” or “non~suit” of that Final Jndgment. As we
told you (about a week ago), we intend to file by November 30, 2011 a Disclosure Statement and Plan of
Reorganization based on our 11/17/11 email to Petroleum Wholesale/Sun Development’s counsel. We are hopeful
(but no guarantees) that the Plan may be favorably received by the Bankruptcy Court, if not also by Sun
Development/Petroleum Wholesale.)

 

 

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Case 4:18-cV-02447 Document 1 Filed in TXSD on 07/13/18 Page 21 of 29

From: atkaraali <atkaraali@aol.com>
To: mhof‘l 100 <mhofi 1 OO@aol.com>
Cc: jeff <jeff@nacol-law.com>; jccowgill <jccowgill@cowgil|holmes.com>
Subject: Re: Rule 408 - Settlement Negotiations l inadmissible in Evidence - Tien Shan, lnc. l Plan of Reorganization
Date: Tue, Nov 29, 2011 9:12 pm

Why you can‘t argue with PWs math, use calculator, their calculation wrong.We did not apply to the bank yet,
because we don't know pay off amounth yet, is there different negotiations than the e-mails l'm seeing?Why we
are accepting PWs claims as they are keep going up‘?

--Original Nlessage_-

From: Matthew Hoffman < >

To: atkaraali < >

Sent Mon, Nov 28, 2011 12:30 pm

Subject: FW: Ruie 408 _ Settlement Negotiations / inadmissible in Evidence - Tien Shan, lnc. / Plan of
Reorganization

From: Matthew Hoftinan [ ]
Sent: Monday, November 28, 201 l 12:30 PM
To: Madden~ Eric < > ( )

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Re: Rule 408 - Settlement Negotiations / Inadmissible in Evidence ~ Tien Shan, lnc. / rlan... rage 2 or y
` Case 4:18-cV-02447 Document 1 Filed in TXSD on 07/13/18 Page 22 of 29

Cc: ,
Subject: FW: Rule 408 - Settlement Negotiations / lnadmissible in Evidence - Tien Shan, lnc. / Plan of Reorganization

 

From: Madden, Eric D. [ j

Sent: Wednesday, November 23, 2011 1:49 AM

To: ;

Cc:

Subject: Re: Rule 408 - Settlement Negotiations / lnadmissible in Evidence - Tien Shan, lnc. / Plan of Reorganization

Matt - Thank you for your email setting forth the Debtor’s proposal regarding a potentially consensual Chapter ll plan.
We have the following questions/concems about that proposal:

l. PW’s claim under the Note is no longer $l.3 million. According to your own calculations, PW’s claim is comprised of:
(a) $1,258,227.96, the outstanding principal balance as of December 6, 2010; (b) $42,550 in attomey’s fees, mediation
fees, and arbitration fees awarded in the final judgment; (c) $3 9,000 in ad valorem taxes paid by PW; and (d) $56,752.35
in unpaid monthly payments for July through November 2011. Thus, PW’s claim is nearly $l.4 million before including
postjudgment interest and additional attorney’s fees incurred since entry of the final judgment (I cannot argue with
your math. Petroleum Wholesale’s claim is $1.39 million+.)

2. The Debtor’s first proposed option for paying PW’s claim under the Note would be to obtain: (a) $1.05 million through
loan from American First National Bank; and (b) $250,000 to $300,000 from either an additional loan from the Bank or a
supplemental investment (possibly from an alternate fuel supplier/oil company). We have several concerns regarding this
option. First, did the Debtor receive a firm loan commitment letter ii'om the Bank by November 22nd, as promiscd? If so,
please forward a copy of that letter to us_ Second, this option would require an agreed termination of the FMLA, but
would provide no consideration whatsoever to PW in exchange for agreeing to terminate this 40-year supply contract This
option, moreover, would not even pay PW’s entire claim under the Note. Accordingly, this option is simply not acceptable
to PW. (The Debtor received an indication (by way of Mr. Sin’s (11/15/11) meeting with Debtor’s counsel, James C.
Lee) of an 80% likelihood that the Bank’s loan committee will approve the $1.05 million and up to an additional
$250,000 to $300,000 “to compensate Petroleum Wholesale for agreeing to terminate the FMLA, secured by a
junior (second) lien on the Property behind the Bank’s (expected) first lien on the Property.” The written
commitment has not yet been sought or received, but only because l was unable to obtain an affirmative response
(to my November 17, 201 1 (proposal) email) from you and your clients before the scheduled November 21, 2011
loan committee meeting. you are correct that other than a maximum loan amount of $1.35 million, the Bank’s
conditional willingness to lend provides no additional consideration to Petroleum Wholesale/Sun Development for
Satisfying both the Note and the proposed agreed termination of the FMLA. l had hoped that you and your client
(s) representatives would find this (maxim um) loan amount acceptable or, at least, near acceptable.)

3. The Debtor’s second proposed option would be to pay PW’s claim under the Note over a 20»year period with ali parties
Continuing to be bound by the FMLA. First, what interest rate and terms does the Debtor have in mind for this option?
(Probably, no more than 4% or 5% per annum, simple interest.) Second, how would the Debtor cure past defaults and
provide adequate assurance of fixture performance under the FMLA, particularly given the concerns noted below? (My
hope is (was) Petroleum Wholesale would work together with the Debtor (similarly to the parties’ recent fuel
purchase arrangement) in this regard, focusing primarily on future performance)

4. We have several concerns regarding the Debtor’s ability to affirm the FMLA. First, is the Bank willing to make any
loan to the Debtor if the FMLA is affirmed given your comment that “the Bank really wants the FMLA to be terminated,
as a condition of making a loan or loans in any amount(s) to the Debtor”? (No, l honestly do not think (based on James

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Re: Rule 408 - Settlement Negotiations / Inadmissible in Evidence - Tien Shan, lnc. / Plan... t'age .)' or v
' Case 4:18-cV-O2447 Document 1 Filed in TXSD on 07/13/18 Page 23 of 29

Lee’s ll/lS/ll meeting with Mr. Sin) that the Bank is willing to agree to loan any monies to the Debtor, except in
the context of termination of the FMLA.) Second, has the Debtor completed any analysis as to the amounts required to
cure past defaults under the FMLA? (Not really, other than Debtor’s management’s view that the FMLA, as
currently postured, has no (positive) monetary value.) Third, where will the Debtor obtain the hinds necessary to cure
those defaults? (Not really, other than Debtor’s management’s view that the FMLA, as currently postured, has no
(positive) monetary value.)

5. We have several concerns regarding the feasibility of this proposed plan. First, do the Debtor’s financial projections
assume that the Station is re-branded? (Yes, I think this is a fair assumption.) Second, what are the Debtor’s current
estimates regarding the specific costs, improvements, and repairs needed to obtain re-branding? (I think the Debtor’s
management answered this question in detail in his recent BR 2004 Examination.) We believe those items could be
approximately $300,000 or more in the aggregate (Same answer, except that my recollection is that the number is
much smaller, closer to $100,000 than $300,000.) Third, your proposal suggests that PW and/or the oil company should
be willing to pay for some portion of these costs based (presumably) on the three proposal letters obtained h'om alternate
suppliers Those proposals, however, are inapplicable here for multiple reasons, including: (a) the incentive money (which
was relatively small compared to the significant repair and re-branding costs facing the Debtor) would be payable only
alter the Debtor had completed (and funded) the necessary improvements and repairs (not necessarily); (b) the proposals
were tied to minimum monthly fuel sales, which (based on historical perfonnance) are wholly unattainable by the Debtor
(not necessarily); and (c) the proposals involved new fuel supply contracts, not a lilel supply contract (like the FMLA)
that has been in existence for many years already (agreed as to (c)). Fourth, assuming that PW and the oil company are
not willing to fund the costs, improvements, and repairs to obtain re-branding, how does the Debtor intend to obtain those
necessary funds? (No current, alternate plan.) Fifth, do the Debtor’s financial projections take into account the fact that
its lease with 'l`S Imports would likely need to be terminated in order to re-brand the Station? (I believe the Debtor’s
management testified that, if necessary, the lease with TS Imports, Inc. could be modified to move that operation to
the back of the Station. Moreover, at least one, alternate fuel supplier is willing to allow TS Imports’ lease to
continue.) Sixth, what are the specific components of the “at least $250,000 in additional lirnds” that you indicate would
be needed “to demonstrate to the Court that [the] Plan is feasible”? (T he additional $250,000 would increase the $1.05
million to $1.3 million in funds available on the Effective Date to pay to the Noteholder. Even if Petroleum
Wholesale/Sun Development’s claim under the Note is no longer $1.3 million (e.g., say, it is now $1.35 million) the
Bankruptcy Court might find such a Plan providing for a $1.3 million cash com ponent, coupled with a $100,000+
payout component to the Noteholder, to be feasible.) Seventh, how does the Debtor intend to obtain those hinds?
(From American First National Bank and/or from supplemental investment (e.g., alternate fuel supplier/oil
company, friends or family of Debtor’s shareholder).)

6. You have indicated that the Debtor will pay the $3,200 in “net rental proceeds” over to PW. (The Debtor has already
paid (on 11/21/11) the first $3,200 to Sun Development, LP.) First, why is the Debtor proposing to pay only the net
proceeds? (I think that the $4,000 per month from TS imports, Inc. under the sublease contemplated the Debtor
paying therefrom electricity, etc., on behalf of the sublease space. The $l,200 per month from C & J Columbian
Restaurant was not to be paid for September or October, 2011 (except that C & J Columbian Restaurant was
required to do certain roof repair). l think that the Debtor acknowledges owing the Noteholder $l,200 (less utility
expenses, etc., applicable under the sublease agreement) from C & J Columbian Restaurant for the month of
November, 2011. Similarly, I think that the Debtor would acknowledge owing the Noteholder $4,000 (less utility
expenses, etc., applicable under the sublease agreement) for the months of October and November, 2011.) Under the
deed of trust, the Debtor is required to “apply all rent and other income and receipts to payment of the note.” The deed of
trust also states that PW “shall apply all rent and other income and receipts collected under this paragraph first to expenses
incurred in exercising [PW’s] rights and remedies and then to [Debtor’s] obligations under the note and this deed of trust
assumed in the order determined by [PW].” Second, it appears that the Debtor is proposing to pay the rental proceeds for
only one month, not for the entire three months of the post-petition period. Why is that? (Again, l think that the Debtor
acknowledges owing the Noteholder $1,200 (less utility expenses applicable under the sublease agreement) from C
& .l Columbian Restaurant for the month of November, 201 1. Similarly, l think that the Debtor would
acknowledge owing the Noteholder $4,000 (less utility expenses applicable under the sublease agreement) for the
months of October and Novem ber, 2011.)

Please let us know your thoughts regarding these questions and concems.

Best regards
Eric

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Re: Tien Shan, Inc. _ _ Fage 1 012
` Case 4:18-cv-02447 Document 1 Fl|ed in TXSD on 07/13/18 Page 24 of 29

From: atkaraali <atkaraali@aol.com>
To: mhof1100 <mhof1100@aol.com>
Cc: jeff <jeff@nacol-law.com>; jccowgill <jccowgill@cowgillholmes.com>
Subject: Re: Tien Shan, lnc.
Date: Tue. Nov 29. 2011 9:26 pm

Why l don't know anything about this ,why l'm not being informed,What are they proposing, instead of 1 .3 they

want 1.35 million for both note and the fuel agreement do they giving that written or just bullshitting like last 6
years.Please inform me?

--Original l\/lessage-~

From: Matthew Hoffman < >
To: kelvins < >
Cc: jcl.esq < >

Sent. Tue, Nov 29, 2011 10:58 am
Subject Tien Shan, lnc.

Dear Kelvin,

Please give me a call. l have the Petroleum Wholesale representatives in my office this morning
(now) for the Appraiser’s deposition. They are talking with us about a possible consensual Plan, including (for
the first time) the component of termination of the Fuel Marketing l.ocation Agreement. They require,
however, before they will proceed further with the negotiations an indication from the Bank of its willingness
to loan the Debtor $1.05 million and up to an additional 5250,000 to $300,000 ”to compensate Petroleum
Wholesale for agreeing to terminate the FlVlLA, secured by a junior (second) lien on the Property behind the
Bank's (expected) Hrst lien on the Property.” As you know, the Debtor has not sought from you the written
commitment yet, but only because we were unable (up until now) to obtain any type of affirmative response
(to my November 17, 2011 (proposal) email) from Petroleum Wholesale/Sun Development before the
scheduled November 21, 2011 loan committee meeting. We have made clear to Petroleum Wholesale/Sun
Development that other than a maximum loan amount of $1.35 million, the Bank's conditional willingness to
lend provides no additional consideration to Petroleum Wholesale/Sun Development for satisfying both the
Note and the proposed agreed termination of the FMLA. Hopefully, Petroleum Wholesale/Sun Development
will find this (maximum) loan amount acceptable

Accordingly, please call me (on my cell - 713~819-2297) or here at the office (713-654-9990), and, it
possib|e, send to me an email setting forth the Bank's conditional willingness to lend. Your courtesy and
assistance in this matter are greatly appreciated.

Cordially,

Matthew Hoffman*

Law Ofiices of Matthew Hoffman, p.c.
Riviana Building

2777 Allen Parkway, Suite 1000
Houston, TX 77019

713-654»9990 (Telephone)
713-654-0038 (Telecopier)

*Board Certified in Business Bankruptcy
Texas Board of l.egal Specialization

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Re: exxonmobil brand t age .»'. ;;; r_
Case 4:18-cv-02447 Document 1 Filed in TXSD on 07/13/18 Page 25 of 29

As l mention to you on the phone yesterday, March 2012 last day for PW can carry Mobil brand. Exxon kicked them out
so the document l found on their exibits that shows cancelletion of PW's agreement with Exxon was tme.That means they
lied under oath that Tien Shan can't effort brand updates because brand no longer exist and the same lie they de branded
us.So the fuel agreement no longer exist.I ny to get some documents from Exxon, in the mean time should we inform the

bancrupcy court?

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Re: exxonmobil brand t age 1 ;;; :
Case 4:18-cv-02447 Document 1 Filed in TXSD on 07/13/18 Page 26 of 29

From: atkaraali <atkaraali@aol.com>
To: mh0f1100 <mhof1100@aol.c0m>
Subject: Re: exxonmobil brand
Date: Tue, Dec 20, 2011 9:55 pm

Mr. Hoffman ,you recall wrong, it is Plantif’s exibit 2A ,tomorrow l'll fax you, we disscuss during my testimony

and Eric asked ifl know as a fact agreement between Exxon and PW lS NO LONGER EXlST AND lVlY
ANSWER WAS NO.

--~Original l\/lessage--

From: Matthew Hoffman < >
To: atkaraali < >
Cc: jccowgill < >; jett < >

Sent. Tue, Dec 20, 2011 1:58 pm
Subiect: RE: exxonmobil brand

Dear Alper,

As you may recall, your proposed (i.e., the examination questions you provided to us) examination
question referenced a Petroleum Wholesale exhibit, but when we turned to that exhibit (during the trial) the
document you had mentioned to us was not there. We do not know that Mr. Miller “lied under oath that Tien
Shan can’t eH`ort [effect(?)] brand updates because brand no longer exist and the same lie they de branded us”
just because you heard a rumor from another gas station operator, much less do we know the fuel agreement no
longer exists. Accordingly, there is nothing we can inform the Bankruptcy Court concerning this matter. If
you get the documents from Exxon Mobil that you talked about trying to get, maybe that will change things.

'Kegarcls.

Matthew Hoffman*

Law OHices of Matthew Hofhnan, p.c.
Riviana Building

2777 Allen Parkway, Suite l000
Houston. 'l`X 77019

713-654-9990 (Telephone)

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Texas Board of Legal Specialization

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From: [ ]
Sent: Tuesday, December 20, 2011 8:37 AM
'l`n:

Subject: exxonmobil brand

Mr. Hoffinan.

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Case 4:18-cv-02447 Document 1 Filed in TXSD on 07/13/18 Page 27 of 29

From: atkaraali <atkaraali@aol.com>
To: mhof1 100 <mhof1100@aol.c0m>
Cc: jeff <jeff@naool-law.com>

Date: Thu, Jan 12, 2012 8:59 am

lVlr. Hoffman ,didn't hear back from you regarding relilling 'DlSCLOSURE STATEMENT“, what were the
mistakes in the current fonn.

l have to withdraw both stipulations; oneer FlVlLA and the other for not running out of gas in Oct
2011.Emergency also l have to let the judge know we are out of gas since Jan 6 and loosing $1,100 each day.

Basicaily nothing changed before we nled chapter 11 and will not if l can't reject this FMLA that not exist
anymore l hope no mistakes done for the deadlines .l also learned \,vithdrawing STlPUl_ATlONS ARE NOT A

213 DEAL ,actue!ly even i can do it as a debtors representative you just prepare the papers l'!l sign

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Case 4:18-cV-O2447 Document 1 Filed in TXSD on 07/13/18 Page 28 of 29

From: Matthew Hoffman <mhof1100@aol.com>
To: atkaraali <atkaraali@aol.com>
Cc: jeff <jelf@nacol-|aw.com>; jcoowgill <jccowgil|@cowgillholmes.com>
Subject: Tien Shan, lnc.
Date: Thu, Jan 12, 2012 9:55 am

Dear Mr. Karaali,

You have instructed us to get this bankruptcy case dismissed, and we have filed dismissal pleadings
pursuant to your instructions We received a call yesterday from the Bankruptcy Court’s Clerk exploring how
long the dismissal hearing will take. I told her it will take virtually no time on our end. The Debtor is
obviously not opposed to a dismissal, since Tien Shan, lnc. filed the Motion to Dismiss.

Accordingly, l intend to wait until the Bankruptcy Court sets the Debtor’s dismissal pleading for
hearing and help you attempt to get the case dismissed at the hearing. Filing a new disclosure statement would
be totally inconsistent with this, and taking the position that the FMLA should be terminated or has been
terminated or will be terminated is also inconsistent with the stipulation and previous announcements to this
Court. l will not do it.

Cordially,

Matthew Hoffman*

Law Oftices ofMatthew Hoffman, p.c.
Riviana Building

2777 Allen Parkway, Suite 1000
Houston, TX 77019

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From: l ]
Sent: 'Illursday, January 12, 2012 8:59 AM

To:

Cc:

Subject:

Mr. Hoflinan ,didn‘t hear back from you regarding refilling 'DISCLOSURE STATEMENT", what were the mistakes in
the current form.

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RE: Tien Shan, Inc. t age t w ..
Case 4:18-cV-O2447 Document 1 Filed in TXSD on 07/13/18 Page 29 of 29

From: Matthew Hoffman <mhof1100@aol.com>
To: atkaraali <atkaraali@aol.oom>
Cc: jccowgill <jccowgi|l@cowgillholmes.com>; jeff <jeff@nacol-law.com>
Subject: RE: Tien Shan, lnc.
Date: Thux Jan 12, 2012 6:19 pm

Dear Mr. Karaali,

Even if Petroleum Wholesale’s basis for objecting to dismissal of Tien Shan, lnc.’s Chapter ll case is
that dismissal would somehow cancel the stipulation, there is still no basis to tile a new Disclosure Statement
to Tien Shan, Inc.’s Plan ofReorganization. In fact, Tien Shan, lnc.’s Plan of Reorganization has been
rendered moot and unconlirmable by Bankruptcy Judge Paul’s Judgrnent ordering that the “automatic stay is
lifted to allow Petroleum Wholesale, LP and Sun Development, LP to exercise their rights [i.e., foreclosure] to
the real property located at 3151 South Dairy Ashford, Houston, Texas 77072.”

Cordially,

Matthew HoH`man*

Law Oft`rces of Matthew Hoffman, p.c.
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2777 Allen Parkway, Suite 1000
Houston, TX 77019

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copies of the message and its attachments and notih/ us immediately T hank you,

From: [ j
Sent: Thursday, January 12, 2012 6:00 PM
To:

Subject: Re: Tien Shan, Inc.

Pw objected to dismissal, saying that it will cancel the stipulations.With withdrawing stipulations we are actually stopping
PW to object to dismissal, perfect hit ,it is not inconsistent

---Original Message--

From: Matthew Hoffman < >
To: atkaraali < >
Cc: jeti`< >;jccowgill < >

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